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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE

CONNOR ANDERSON, individually and on
behalf of similarly situated persons,

                      Plaintiff,
                                                       Case No.
        v.
                                                       Jury Demanded
THE PRIOR GROUP, INC. and
LEE PRIOR

                     Defendants.


                                         COMPLAINT

    Plaintiff Connor Anderson (“Plaintiff”), individually and on behalf of all other similarly

 situated delivery drivers, brings this Complaint against Defendants The Prior Group, Inc. and Lee

 Prior, alleges as follows:

    1. Defendants operate numerous Domino’s franchise stores. Defendants employ delivery

 drivers who use their own automobiles to deliver pizza and other food items to their customers.

 However, instead of reimbursing delivery drivers for the reasonably approximate costs of the

 business use of their vehicles, Defendants use a flawed method to determine reimbursement rates

 that provides such an unreasonably low rate beneath any reasonable approximation of the expenses

 they incur that the drivers’ unreimbursed expenses cause their wages to fall below the federal

 minimum wage during some or all workweeks.

    2. Plaintiff brings this lawsuit as a collective action under the Fair Labor Standards Act

 (“FLSA”), 29 U.S.C. § 201 et seq. to recover unpaid minimum wages and overtime hours owed to

 himself and similarly situated delivery drivers employed by Defendants at its Domino’s stores.
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                                      Jurisdiction and Venue

   3. The FLSA authorizes court actions by private parties to recover damages for violation of

its wage and hour provisions. Jurisdiction over Plaintiff’s FLSA claim is based on 29 U.S.C. §

216(b) and 28 U.S.C. § 1331 (federal question).

   4. Venue in this District is proper under 28 U.S.C. § 1391 because Plaintiff resides in this

District, Defendants operate Domino’s franchise stores in this District, and a substantial part of the

events giving rise to the claim herein occurred in this District.

                                               Parties

   5. Defendant, The Prior Group, Inc. is a Maine corporation maintaining its principal place of

business in this District and may be served via its registered agent, Lee Prior who may be served

at 10 Brooklyn Heights Rd., Thomaston, ME 04861, or wherever he may be found.

   6. Defendant, Lee Prior is individually liable because, during the relevant times, he was an

owner of substantial interests in defendant, served as officer of the entity, and held managerial

responsibilities and substantial control over terms and conditions of drivers’ work as they held the

power to hire and fire, supervised and controlled work schedules and/or conditions of employment,

determined rates and methods of pay and/or expense reimbursements, and maintained employment

records and/or held control over employment records. Defendant may be served at 10 Brooklyn

Heights Rd., Thomaston, ME 04861, or wherever he may be found.

   7. Plaintiff was employed by Defendants from January 1, 2018 to July 14, 2019 as a delivery

driver at Defendants’ Domino’s store. Plaintiff’s consent to pursue this claim under the FLSA is

attached to this Original Complaint as “Exhibit 1.”




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                                        General Allegations

Defendants’ Business

   8. Defendants own and operate numerous Domino’s franchise stores within this District.

   9. Lee Prior is an owner, officer and director of corporate Defendant The Prior Group, Inc.

   10. In this capacity, Mr. Prior put the pay scheme at issue in place, has overseen and enforced

Defendants’ pay practices, and is, therefore, individually liable for the violations at issue.

   11. Defendants’ Domino’s stores employ delivery drivers who all have the same primary job

duty: to deliver pizzas and other food items to customers’ homes or workplaces.

Defendants’ Flawed Automobile Reimbursement Policy

   12. Defendants require their delivery drivers to maintain and pay for safe, legally-operable,

and insured automobiles when delivering pizza and other food items.

   13. Defendants’ delivery drivers incur costs for gasoline, vehicle parts and fluids, repair and

maintenance services, insurance, depreciation, and other expenses (“automobile expenses”) while

delivering pizza and other food items for the primary benefit of Defendants.

   14. Defendants’ delivery driver reimbursement policy reimburses drivers on a per-delivery

basis, but the per-delivery reimbursement equates to below the IRS business mileage

reimbursement rate or any other reasonable approximation of the cost to own and operate a motor

vehicle. This policy applies to all of Defendants’ delivery drivers.

   15. The result of Defendants’ delivery driver reimbursement policy is a reimbursement of

much less than a reasonable approximation of its drivers’ automobile expenses.

   16. During the applicable FLSA limitations period, the IRS business mileage reimbursement

rate ranged between $.535 and $.575 per mile. Likewise, reputable companies that study the cost

of owning and operating a motor vehicle and/or reasonable reimbursement rates, including the




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AAA, have determined that the average cost of owning and operating a vehicle ranged between

$.571 and $.608 per mile during the same period for drivers who drive 15,000 miles per year.

These figures represent a reasonable approximation of the average cost of owning and operating a

vehicle for use in delivering pizzas.

   17. However, the driving conditions associated with the pizza delivery business cause even

more frequent maintenance costs, higher costs due to repairs associated with driving, and more

rapid depreciation from driving as much as, and in the manner of, a delivery driver. Defendants’

delivery drivers further experience lower gas mileage and higher repair costs than the average

driver used to determine the average cost of owning and operating a vehicle described above due

to the nature of the delivery business, including frequent starting and stopping of the engine,

frequent braking, short routes as opposed to highway driving, and driving under time pressures.

   18. Defendants’ reimbursement policy does not reimburse delivery drivers for even their

ongoing out-of-pocket expenses, much less other costs they incur to own and operate their vehicle,

and thus Defendants uniformly fail to reimburse its delivery drivers at any reasonable

approximation of the cost of owning and operating their vehicles for Defendants’ benefit.

   19. Defendants’ systematic failure to adequately reimburse automobile expenses constitutes a

“kickback” to Defendants such that the hourly wages it pays to Plaintiff and Defendants’ other

delivery drivers are not paid free and clear of all outstanding obligations to Defendants.

   20. Defendants fail to reasonably approximate the amount of their drivers’ automobile

expenses to such an extent that its drivers’ net wages are diminished beneath the federal minimum

wage requirements.

   21. In sum, Defendants’ reimbursement policy and methodology fail to reflect the realities of

delivery drivers’ automobile expenses.




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Defendants’ Failure to Reasonably Reimburse Automobile Expenses Causes Minimum Wage
Violations

   22. Regardless of the precise amount of the per-delivery reimbursement at any given point in

time, Defendants’ reimbursement formula has resulted in an unreasonable underestimation of

delivery drivers’ automobile expenses throughout the recovery period, causing systematic

violations of the federal minimum wage.

   23. Plaintiff was paid hourly rates at or below federal minimum wage. Plaintiff was paid, prior

to deductions for Defendants’ improper reimbursement, as low as $5.50 and $5.75 for hours when

he was engaged in delivery services.

   24. The federal minimum wage has been $7.25 per hour since July 24, 2009.

   25. During the time Plaintiff worked for Defendants as a delivery driver, he was reimbursed

just $.23 per mile and on average drove 4-6 miles per delivery.

       26. During the relevant time period, the IRS business mileage reimbursement rate ranged

between $.58 and $.535 per mile, which reasonably approximated the automobile expenses

incurred delivering pizzas. http://www.irs.gov/Tax-Professionals/Standard-Mileage-Rates. Using

the lowest IRS rate per mile driven ($.535 per mile) in effect during that period as a reasonable

approximation of Plaintiff’s automobile expenses, every mile driven on the job decreased her net

wages by at least $.305 ($.535 - $.26) per mile.

   27. During his employment by Defendants, Plaintiff regularly made 3 or more deliveries per

hour. Thus even using a conservative under-estimate of Plaintiff’s actual expenses and damages,

every hour on the job decreased Plaintiff’s net wages by at least $.915 ($.305 x 3 deliveries).

   28. All of Defendants’ delivery drivers had similar experiences to those of Plaintiff. They were

subject to the same reimbursement policy; received similar reimbursements; incurred similar




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automobile expenses; completed deliveries of similar distances and at similar frequencies; and

were paid at or near the federal minimum wage before deducting unreimbursed business expenses.

   29. Because Defendants paid their drivers a gross hourly wage at precisely, or at least very

close to, the federal minimum wage, and because the delivery drivers incurred unreimbursed

automobile expenses, the delivery drivers “kicked back” to Defendants an amount sufficient to

cause minimum wage violations.

   30. While the amount of Defendants’ actual reimbursements per delivery may vary over time,

Defendants are relying on the same flawed policy and methodology with respect to all delivery

drivers at all of their other Domino’s stores. Thus, although reimbursement amounts may differ

somewhat by time or region, the amounts of under-reimbursements relative to automobile costs

incurred are relatively consistent between time and region.

   31. Defendants’ low reimbursement rates were a frequent complaint of Defendants’ delivery

drivers, which resulted in discussions with management, yet Defendants continued to reimburse at

a rate much less than any reasonable approximation of delivery drivers’ automobile expenses. In

fact, there were times that Defendants would not pay Plaintiff and other Drivers anything for

mileage or would deduct pay from their mileage amounts.

   32. The net effect of Defendants’ flawed reimbursement policy is that Defendants have

willfully failed to pay the federal minimum wage to their delivery drivers. Defendants thereby

enjoys ill-gained profits at the expense of its employees.

                              Class and Collective Action Allegations

   33. Plaintiff brings this FLSA claim as an “opt-in” collective action on behalf of similarly

situated delivery drivers pursuant to 29 U.S.C. § 216(b).




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   34. The FLSA claims may be pursued by those who opt-in to this case pursuant to 29 U.S.C.

§ 216(b).

   35. Plaintiff, individually and on behalf of other similarly situated employees, seeks relief on

a collective basis challenging Defendants’ practice of failing to pay employees federal minimum

wage. The number and identity of other plaintiffs yet to opt-in may be ascertained from

Defendants’ records, and potential class members may be notified of the pendency of this action

via mail and electronic means.

   36. Plaintiff and all of Defendants’ delivery drivers are similarly situated in that:

       a.     They have worked as delivery drivers for Defendants delivering pizza and other

              food items to Defendants’ customers;

       b.     They have delivered pizza and food items using automobiles not owned or

              maintained by Defendants;

       c.     Defendants required them to maintain these automobiles in a safe, legally-operable,

              and insured condition;

       d.     They incurred costs for automobile expenses while delivering pizzas and food items

              for the primary benefit of Defendants;

       e.     They were subject to similar driving conditions, automobile expenses, delivery

              distances, and delivery frequencies;

       f.     They were subject to the same pay policies and practices of Defendants;

       g.     They were subject to the same delivery driver reimbursement policy that under-

              estimates automobile expenses per mile, and thereby systematically deprived of

              reasonably approximate reimbursements, resulting in wages below the federal

              minimum wage in some or all workweeks;




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       h.        They were reimbursed similar set amounts of automobile expenses per delivery;

                 and,

       i.        They were paid at or near the federal minimum wage before deducting

                 unreimbursed business expenses.

   37. Plaintiff brings Count II as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

   himself and as the Class Representatives of the following persons (the “Class”):

                    All current and former delivery drivers employed by Defendants
                                  during the statutory recovery period.

   38. The state law claims, if certified for class-wide treatment, are brought on behalf of all

similarly situated persons who do not opt-out of the Class.

   39. The Class satisfies the numerosity standard as it consists of hundreds of persons who are

geographically dispersed and, therefore, joinder of all Class members in a single action is

impracticable.

   40. Questions of fact and law common to the Class predominate over any questions affecting

only individual members. The questions of law and fact common to the Class arising from

Defendants’ actions include, without limitation:

       a. Whether Defendants failed to pay Class members the minimum wage required by

       Maine law,

       b. Whether Defendants failed to reasonably reimburse Class members for using their own

       vehicles to deliver Defendants’ pizzas and other food items,

       c. Whether Defendants’ formula and / or methodology used to calculate the payment of

       reimbursement for vehicle expenses resulted in unreasonable under-reimbursement of the

       Class members,




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       d. Whether Defendants failed to keep accurate records of deductions from Class

       members’ wages in violation of Federal and Maine law, and

       e. Whether Defendants failed to reimburse Plaintiff and the Putative Plaintiffs for “other

       amounts promised” pursuant to its company handbook, and thus required by Maine Law.

   41. The questions set forth above predominate over any questions affecting only individual

persons, and a class action is superior with respect to considerations of consistency, economy,

efficiency, fairness, and equity to other available methods for the fair and efficient adjudication of

the state law claims.

   42. Plaintiff’s claim is typical of those of the Class in that:

       a. Plaintiff and the Class have worked as delivery drivers for Defendants delivering pizza

       and other food items to Defendants’ customers;

       b. Plaintiff and the Class delivered pizza and food items using automobiles not owned or

       maintained by Defendants;

       c. Defendants required Plaintiff and the Class to maintain these automobiles in a safe,

       legally-operable, and insured condition;

       d. Plaintiff and the Class incurred costs for automobile expenses while delivering pizzas

       and food items for the primary benefit of Defendants;

       e. Plaintiff and the Class were subject to similar driving conditions, automobile expenses,

       delivery distances, and delivery frequencies;

       f. Plaintiff and the Class were subject to the same pay policies and practices of

       Defendants;

       g. Plaintiff and the Class were subject to the same delivery driver reimbursement policy

       that underestimates automobile expenses per mile, and thereby systematically deprived of




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       reasonably approximate reimbursements, resulting in wages below the federal minimum

       wage in some or all workweeks;

       h. Plaintiff and the Class were reimbursed similar set amounts of automobile expenses

       per delivery; and

       i. Plaintiff and the Class were paid at or near the Federal minimum wage before

       deducting unreimbursed business expenses.

   43. A class action is the appropriate method for the fair and efficient adjudication of this

controversy. Defendants has acted or refused to act on grounds generally applicable to the Class.

   44. Plaintiff is an adequate representative of the Class because he is a member of the Class and

his interests do not conflict with the interest of the members of the Class he seeks to represent. The

interests of the members of the Class will be fairly and adequately protected by Plaintiff and the

undersigned counsel, who have extensive experience prosecuting complex wage and hour,

employment, and class action litigation.

   45. Maintenance of this action as a class action is superior to other available methods for fairly

and efficiently adjudicating the controversy as members of the Class have little interest in

individually controlling the prosecution of separate class actions, no other litigation is pending

over the same controversy, it is desirable to concentrate the litigation in this Court due to the

relatively small recoveries per member of the Class, and there are no material difficulties

impairing the management of a class action.

   46. It would be impracticable and undesirable for each member of the Class who suffered harm

to bring a separate action. In addition, the maintenance of separate actions would place a

substantial and unnecessary burden on the courts and could result in inconsistent adjudications,

while a single class action can determine, with judicial economy, the rights of all Class members.




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                  Count I: Violation of the Fair Labor Standards Act of 1938

    47. Plaintiff reasserts and re-alleges the allegations set forth above.

    48. The FLSA regulates, among other things, the payment of minimum wage by employers

whose employees are engaged in interstate commerce, or engaged in the production of goods for

commerce, or employed in an enterprise engaged in commerce or in the production of goods for

commerce. 29 U.S.C. §206(a).

    49. Defendants are subject to the FLSA’s minimum wage requirements because it is an

enterprise engaged in interstate commerce, and its employees are engaged in commerce.

    50. At all relevant times herein, Plaintiff and all other similarly situated delivery drivers have

been entitled to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. §§ 201,

et seq.

    51. Section 13 of the FLSA, codified at 29 U.S.C. § 213, exempts certain categories of

employees from federal minimum wage obligations. None of the FLSA exemptions apply to

Plaintiff or other similarly situated delivery drivers.

    52. Under Section 6 of the FLSA, codified at 29 U.S.C. § 206, employees have been entitled

to be compensated at a rate of at least $7.25 per hour since July 24, 2009.

    53. As alleged herein, Defendants have reimbursed delivery drivers less than the reasonably

approximate amount of their automobile expenses to such an extent that it diminishes these

employees’ wages beneath the federal minimum wage.

    54. Defendants knew or should have known that their pay and reimbursement policies,

practices and methodology result in failure to compensate delivery drivers at the federal minimum

wage.




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   55. Defendants, pursuant to their policy and practice, violated the FLSA by refusing and failing

to pay federal minimum wage to Plaintiff and other similarly situated employees.

   56. Plaintiff and all similarly situated delivery drivers are victims of a uniform and employer-

based compensation and reimbursement policy. This uniform policy, in violation of the FLSA, has

been applied, and continues to be applied, to all delivery driver employees in Defendants’ stores.

   57. Plaintiff and all similarly situated employees are entitled to damages equal to the minimum

wage minus actual wages received after deducting reasonably approximated automobile expenses

within three years from the date each Plaintiff joins this case, plus periods of equitable tolling,

because Defendants acted willfully and knew, or showed reckless disregard for, whether its

conduct was unlawful.

   58. Defendants have acted neither in good faith nor with reasonable grounds to believe that its

actions and omissions were not a violation of the FLSA, and as a result, Plaintiff and other similarly

situated employees are entitled to recover an award of liquidated damages in an amount equal to

the amount of unpaid minimum wages under 29 U.S.C. § 216(b). Alternatively, should the Court

find Defendants is not liable for liquidated damages, Plaintiff and all similarly situated employees

are entitled to an award of prejudgment interest at the applicable legal rate.

   59. As a result of the aforesaid willful violations of the FLSA’s minimum wage provisions,

minimum wage compensation has been unlawfully withheld by Defendants from Plaintiff and all

similarly situated employees. Accordingly, Defendants are liable under 29 U.S.C. § 216(b),

together with an additional amount as liquidated damages, pre-judgment and post-judgment

interest, reasonable attorneys’ fees, and costs of this action.




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                          Count II: Violations of the Maine Wage Law

    60. Plaintiff reasserts and re-alleges the allegations set forth above.

    62. At all relevant times, Defendants have employed, and continues to employ, “employees”,

including Plaintiff, within the meaning of the 26 M.R.S. § 661 et. seq.

    63. Plaintiff was an employee of Defendants within the meaning of the 26 M.R.S. § 661 et.

seq.

    64. Pursuant to the 26 M.R.S. § 661 et. seq. the Defendants were required to pay Plaintiff and

the Putative Plaintiffs all wages, when due, for all hours of work at hourly rates which exceeded

the Maine minimum wage rate on their regular pay date.

    65. Defendants were required to provide employees with advanced notice for wage deductions

permissible by and in compliance with the 26 M.R.S. § 661 et. seq.

    68. As set forth above, the Plaintiff and the Putative Plaintiffs have sustained losses and lost

compensation as a proximate result of Defendants’ violations. Accordingly, Plaintiff on behalf of

himself and the Putative Plaintiffs, seek damages in the amount of their unpaid earned

compensation, liquidated damages, plus interest at the legal rate set forth in SC Code §41-10-80

et seq.

    69. As a result of the foregoing conduct, as alleged, Defendants have failed to pay wages due

under the 26 M.R.S. § 664 and the FLSA. As described in detail above, these unpaid wages include

overtime wages owed for: missed meal and rest breaks and “off the clock” work such as time

working in the store before and after shifts. As described above, these violations were committed

knowingly, willfully and with reckless disregard of applicable law.

    70. Plaintiff, on behalf of himself and the Putative Plaintiffs, seek recovery of her attorneys’

fees as provided by the 26 M.R.S. § 670.




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                                      PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs and the Putative Plaintiffs collectively pray that this Honorable

Court:

         1. Issue an Order certifying this action as a collective action under the FLSA and

designate the above Plaintiff as representative of all those similarly situated under the FLSA

collective action;

         2. Issue an Order certifying this action as a class action under the SC Code §41-10 et seq.

and designate the Plaintiff as representative on behalf of all those similarly situated of the SC Code

§41-10 et seq. class;

         3. Award Plaintiff and the Putative Plaintiffs actual damages for unpaid wages and

liquidated damages equal in amount to the unpaid compensation found due to Plaintiff and the

class as provided by 26 M.R.S. § 670 and pursuant to the FLSA, U.S.C. § 216(b);

         4. Award Plaintiff and the Putative Plaintiffs pre- and post-judgment interest at the

statutory rate as provided by the 26 M.R.S. § 670 and pursuant to the FLSA, U.S.C. § 216(b);

         5. Award Plaintiff and the Putative Plaintiffs attorneys’ fees, costs, and disbursements as

provided by the 26 M.R.S. § 670 and pursuant to the FLSA, 29 U.S.C. § 216(b); and

         6. Award Plaintiff and the Putative Plaintiffs further legal and equitable relief as this Court

deems necessary, just, and proper.

                                       Demand for Jury Trial

   Plaintiff hereby requests a trial by jury of all issues triable by jury.




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Dated: October 4, 2019
                                   Respectfully submitted,



                                   /s/ Peter Mancuso _____
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